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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOYCE LYONS,

               Plaintiff,

v.                                      CIVIL ACTION NO. 2:18-cv-03517

DRIVETIME CARSALES COMPANY,
LLC d/b/a DRIVETIME PLYMOUTH
MEETING; JON EHRLINGER; and
BRIDCREST ACCEPTANCE CORP.,

                 Defendants.


            MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
          MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS



                                       Respectfully submitted,

Dated: August 31, 2018                 /s/ Martin C. Bryce, Jr.
                                       Martin C. Bryce, Jr., Esq.
                                       Jenny N. Perkins, Esq.
                                       BALLARD SPAHR LLP
                                       1735 Market Street, 51st Floor
                                       Philadelphia, PA 19103-7599
                                       Telephone: 215.665.8500
                                       Facsimile: 215.864.8999
                                       bryce@ballardspahr.com
                                       perkinsj@ballardspahr.com

                                       Attorneys for Defendants




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        Defendants DriveTime Car Sales Company, LLC, (“DriveTime”), improperly identified

in the Complaint as “DriveTime CarSales Company, LLC d/b/a DriveTime Plymouth Meeting”,

Jon Ehlinger (“Ehlinger”), improperly identified in the Complaint as “Jon Ehrlinger”, and

Bridgecrest Acceptance Corporation (“Bridgecrest” and collectively with DriveTime and

Ehlinger referred to herein as “Defendants”), respectfully submit this memorandum of law in

support of their motion to compel arbitration and to stay this matter pending the completion of

arbitration (“Motion”).

I.      INTRODUCTION

        Plaintiff Joyce Lyons (“Plaintiff”) alleges that Defendants concealed certain alleged facts

about a vehicle she financed and purchased from DriveTime. Plaintiff claims that the alleged

concealment gives rise to claims against Defendants for: (1) fraud; (2) breach of contract; (3)

negligence; (4) negligent misrepresentation; (5) breach of fiduciary duty and covenants of good

faith and fair dealing; (6) violations of the “Professions and Occupations Act Board of Vehicles

Act”, 63 P.S. § 818.19; and (7) violations of the Pennsylvania Unfair Trade Practices and

Consumer Protection Law (“UTPCPL”), 73 P.S. § 201-et seq.               See generally Compl.       In

connection with obtaining the vehicle, Plaintiff executed an arbitration agreement requiring

arbitration of, inter alia, any claim that in any way arises from or relates to the sale and financing

of the vehicle, and/or the vehicle itself.

        Since each of Plaintiff’s claims arise from or relate to the sale and financing of the

vehicle, and/or the vehicle itself, Defendants hereby move to compel arbitration of Plaintiff’s

claims and request that this litigation be stayed pending the completion of arbitration.

II.     STATEMENT OF FACTS

                On June 3, 2017, Plaintiff and DriveTime entered into a Simple Interest Retail

Installment Contract (the “Contract”) pursuant to which Plaintiff purchased a 2008 Acura TL


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(the “Vehicle”) from DriveTime. See Compl. at ¶ 10; Ex. 1; See also Declaration of Eric Pierce

(“the Pierce Declaration) at ¶ 3.1 A true and correct copy of the Contract is attached to the Pierce

Decl. as Exhibit 1.2 The Contract was subsequently assigned to DT Acceptance Corporation

(“DTAC”) (now named Bridgecrest Acceptance Corporation effective April 5, 2016). See Ex.

A, Pierce Decl. at ¶ 9. The Contract was executed by Plaintiff and Jon Ehlinger. See Compl. at

Ex. 1; Ex. A, Pierce Decl. at Ex. 1. Ehlinger is the former general counsel of DriveTime. See

Ex. A, Pierce Decl. at ¶ 10.

       At the time of purchase, Plaintiff also executed an arbitration agreement (“Arbitration

Agreement”) that covers disputes arising from or relating to, inter alia, the Contract, the Vehicle

or the sale of the Vehicle, and oral and written statements related to the Contract.3 See Ex. A,

Pierce Decl. at ¶ 6. It also covers statutory claims. See Ex. 2, Arbitration Agreement at p. 2.

       The Arbitration Agreement defines “Us/We/Our” as “DriveTime, any purchaser, assignee

or servicer of the contract, all of their parent companies, and all subsidiaries, affiliates,

predecessors and successors, and all officers, directors and employees of any of the foregoing.”

See Ex. 2, Arbitration Agreement at p. 1.

1
       A true and correct copy of the Pierce Decl. is attached to the Motion as Exhibit A. The
       Court may consider the Pierce Decl. in deciding the Motion. See, e.g., Gedid v.
       Huntington Nat. Bank, No. CIV.A. 11-1000, 2012 WL 691637, at *5 (W.D. Pa. Feb. 10,
       2012), report and recommendation adopted, No. CIV.A. 11-1000, 2012 WL 691614
       (W.D. Pa. Mar. 2, 2012) (“In the context of [a motion to compel], the court may consider
       the pleadings, documents of uncontested validity, and affidavits or depositions submitted
       by either party.”); Black v. JP Morgan Chase & Co., 2011 WL 3940236, *1 (W.D. Pa.
       2011) (finding that a court may consider all affidavits, exhibits and discovery in record
       when considering a motion to compel arbitration); Hopkins v. New Day Fin., 643 F.
       Supp. 2d 704, 713–14 (E.D. Pa. 2009) (noting that when deciding a motion to compel,
       “the Court may consider all affidavits, exhibits and discovery in the record”).
2
       The Contract is also attached to the Complaint as Exhibit 1.
3
       A true and correct copy of the Arbitration Agreement is attached to the Pierce Decl. as
       Exhibit 2.



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       The Arbitration Agreement provides the following notice at the very top:




See Ex. 2, Arbitration Agreement at p. 1.

       Further, the Arbitration Agreement defines “claim” as follows:

               Claim means any claim, dispute or controversy between you and
               us arising from or related to one or more of the following:

               (a) The Contract.
               (b) The vehicle or the sale of the vehicle.
               (c) The provision or sale of any goods and services like warranties,
               insurance and extended service contracts covered by the Contract
               or related to the vehicle.
               (d) The relationships resulting from the Contract.
               (e) Advertisements, promotions or oral or written statements
               related to the Contract.
               (f) The financing terms.
               (g) Your credit application.
               (h) The origination and servicing of the Contract.
               (i) The collection of amounts you owe us.
               (j) Any repossession, or replevin, of the vehicle.
               (k) Your personal information.
               (l) The rescission or termination of the Contract.



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See Ex. 2, Arbitration Agreement at p. 2.

       Per the Arbitration Agreement, the term “claim” has the “broadest reasonable meaning,”

and it “includes claims of every kind and nature.” Id. The Arbitration Agreement specifically

defines “Claim” to include “statutory claims”, “contract claims”, “negligence and tort claims

(including claims of fraud and other intentional torts).” Id.

       The Arbitration Agreement further provides that that the Contract “involves a transaction

in interstate commerce, the Federal Arbitration Act (“FAA”) governs the Arbitration

Agreement.” See Ex. 2, Arbitration Agreement at p. 4.

       The Arbitration Agreement also afforded Plaintiff a thirty day period to “reject” the

Arbitration Agreement. See Ex. 2, Arbitration Agreement at p. 3. The following notice appears

before the signature line of the Arbitration Agreement:

               BY SIGNING BELOW, YOU EXPRESSLY AGREE TO THE
               ABOVE AGREEMENT. THE AGREEMENT MAY
               SUBSTANTIALLY LIMIT YOUR RIGHTS IN THE EVENT
               OF A DISPUTE. YOU ALSO ACKNOWLEDGE
               RECEIVING A COMPLETED COPY OF THIS
               AGREEMENT.

See Ex. 2, Arbitration Agreement at p. 5. Plaintiff did not reject the Arbitration Agreement and

the Complaint does not allege otherwise. See Ex. A, Pierce Decl. at ¶ 8.

       On or about July 20, 2018, Plaintiff filed her Complaint in the Court of Common Pleas of

Philadelphia, County. See Dkt. No. 1.4 The Complaint alleges that Defendants concealed certain

facts about the Vehicle prior to Plaintiff’s purchase of same. See generally Compl. Specifically,

Plaintiff brings claims for: (1) fraud; (2) breach of contract; (3) negligence; (4) negligent

misrepresentation; (5) breach of fiduciary duty and covenants of good faith and fair dealing; (6)

4
       Defendants timely removed this action to this Court. Id. The Court granted the parties’
       stipulation requesting an extension until August 31, 2018 for Defendants to respond to
       the Complaint. See Dkt. No. 3.



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violations of the “Professions and Occupations Act Board of Vehicles Act,” 63 P.S. § 818.19;

and (7) violations of the Pennsylvania Unfair Trade Practices and Consumer Protection Law

(“UTPCPL”), 73 P.S. § 201-et seq. Id.

       Defendants vigorously deny Plaintiff’s claims. However, the merits of Plaintiff’s claims

are for an arbitrator to decide because those claims arise from and relate to the Contract, the sale

of the Vehicle, and the Vehicle itself.      Accordingly, Defendants hereby move to compel

arbitration of those claims pursuant to the binding Arbitration Agreement.

III.   ARGUMENT

       A.        Standard Of Review.

       The Federal Arbitration Act (“FAA”) provides that arbitration agreements are “valid,

irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

revocation of any contract.” See 9 U.S.C. § 2. “[A] party aggrieved by the alleged failure,

neglect, or refusal of another to arbitrate under a written agreement for arbitration may petition

any United States district court . . . for an order directing that such arbitration proceed in the

manner provided for in such agreement.” Id. at § 4. The Supreme Court has repeatedly made

clear that “state and federal courts must enforce the [FAA] . . . with respect to all arbitration

agreements covered by that statute.” Marmet Health Care Ctr., Inc. v. Brown, 565 U.S. 530,

530-31 (2012).

       Under the FAA, a court must compel arbitration if it finds that: (1) a valid arbitration

agreement exists; and (2) the dispute before it falls within the scope of the agreement. See, e.g.,

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, 473 U.S. 614, 626-28 (1985); Miron v.

BDOSeidman, LLP, 342 F. Supp. 2d 324, 328 (E.D. Pa. 2004). It is well-settled that the merits

cannot be considered when deciding an arbitration motion. See, e.g., AT&T Technologies, Inc. v.




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Comm. Workers of Am., 475 U.S. 643, 649 (1986). As the Third Circuit succinctly explained,

the FAA requires a court to engage

               in a limited review to ensure that the dispute is arbitrable, i.e., that
               a valid agreement to arbitrate exists between the parties and that
               the specific dispute falls within the substantive scope of that
               agreement. . . . If . . . the court determines that an agreement exists
               and that the dispute falls within the scope of that agreement, it then
               must refer the matter to arbitration without considering the merits
               of the dispute.

PaineWebber, Inc. v. Hartmann, 921 F.2d 507, 511 (3d Cir. 1990) (citations omitted). As

discussed below, a valid Arbitration Agreement exists and Plaintiff’s claims fall squarely within

the scope of that Arbitration Agreement.

       “[W]hen it is apparent, based on the face of a complaint, and documents relied upon in

the complaint, that certain of a party’s claims are subject to an enforceable arbitration clause, a

motion to compel arbitration should be considered under a Rule 12(b)(6) standard without

discovery’s delay.” Guidotti v. Legal Helpers Debt Resolution, L.L.C., 716 F.3d 764, 776 (3d

Cir. 2013).

       As discussed below, a valid Arbitration Agreement exists and Plaintiff’s claims fall

squarely within the scope of that Arbitration Agreement.

       B.      The FAA Requires Arbitration of Plaintiff’s Claims.

               The FAA provides that a written arbitration agreement contained in a “contract

evidencing a transaction involving commerce . . . shall be valid, irrevocable and enforceable,

save upon such grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C.

§ 2. The Act defines “commerce” as “commerce among the several states.” 9 U.S.C. § 1. “[T]he

word ‘involving’. . . signals an intent to exercise Congress’s commerce power to the full,” and

the phrase “'evidencing a transaction' mean[s] only that the transaction. . .turn[s] out, in fact, to

have involved interstate commerce.” Allied-Bruce Terminix Cos. v. Dobson, 513 U.S. 265, 276-


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77 (1995) (emphasis in original). In Citizens Bank v. Alafabco, Inc., the United States Supreme

Court confirmed that Congress, in Section 2 of the FAA, exercised “the broadest permissible

exercise” of its Commerce Clause power, and it admonished (and reversed) the Alabama

Supreme Court for applying a “cramped view” of the Commerce Clause power. 539 U.S. 52, 56,

58 (2003); see also Fluor Daniel Intercontinental, Inc. v. General Elec. Co., No. 98 Civ.

7181(WHP), 1999 WL 637236, at *3 (S.D.N.Y. Aug. 23, 1999) (“[a]s to the ‘involving

commerce’ requirement, courts have construed the phrase broadly”).

               The transaction at issue in this case easily meets the “involving commerce”

requirement. Plaintiff is a resident of Pennsylvania. See Compl. at ¶ 1. On the other hand,

DriveTime is a “resident” of Arizona and Delaware, Bridgecrest is a resident of Arizona and

Ehlinger is a resident of Arizona.     See Dkt. No. 1.     Those facts indisputably establish

“commerce” within the meaning of Section 2 of the FAA. See, e.g., Anderson v. Delta Funding

Corp., 316 F. Supp. 2d 554, 560 n.1 (N.D. Ohio 2004) (“loan transactions historically have been

evaluated under the FAA because of the banking industry’s connection to commerce”).

               Moreover, the Arbitration Agreement specifically provides that the “Contract

involves a transaction in interstate commerce, the Federal Arbitration Act (“FAA”) governs this

Agreement.” See Ex. 2, Arbitration Agreement at p. 4. That language constitutes additional

compelling evidence that the FAA’s interstate commerce requirement has been satisfied. See,

e.g., Credit Acceptance Corp. v. Davisson, 644 F. Supp. 2d 948, 954 (N.D. Ohio 2009) (finding

FAA applied because “the Contract itself provides that ‘[t]he Federal Arbitration Act governs

this Arbitration Clause. . . .’”); Thomas O’Connor & Co. v. Ins. Co. of North America, 697 F.

Supp. 563, 566 (D. Mass. 1988); see also Volt Info. Sciences, Inc. v. Bd. of Trustees, 489 U.S.




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468, 479 (1989) (courts must “‘rigorously enforce’ [arbitration] agreements according to their

terms”).

               Accordingly, the Contract and the sales transaction underlying the claims in this

case involved commerce within the meaning of the FAA and the FAA applies to this action. See

Government of the Virgin Islands v. United Indus. Workers, N.A., 169 F.3d 172, 176 (3d Cir.

1999) (“[t]he Supreme Court has stated that the FAA’s reach coincides with that of the

Commerce Clause”).

               1.     A Valid And Enforceable Arbitration Agreement Exists.

               The FAA specifically provides that arbitration agreements are enforceable

according to their terms:

                      A written provision in any maritime transaction or a
                      contract evidencing a transaction involving commerce to
                      settle by arbitration a controversy thereafter arising out of
                      such contract or transaction, or the refusal to perform the
                      whole or any part thereof, or any agreement in writing to
                      submit to arbitration an existing controversy arising out of
                      such a contract, transaction, or refusal, shall be valid,
                      irrevocable, and enforceable, save upon such grounds as
                      exist at law or in equity for the revocation of any contract.

9 U.S.C. § 2. Here, there can be no dispute that a written Arbitration Agreement exists. Nor can

there be any dispute as to the validity and enforceability of the Arbitration Agreement as the

Third Circuit has held that arbitration agreements are valid and enforceable. Kaneff v. Del. Title

Loans, Inc., 587 F.3d 616, 623-25 (3d Cir. 2009).

               Moreover, Plaintiff bears the burden of any challenge to the Arbitration

Agreement. see Green Tree Fin. Corporation-Alabama v. Randolph, 531 U.S. 79, 92 (2000);

Howard v. Wells Fargo Minnesota, N.A., 2007 WL 2778664, at *3 (N.D. Ohio 2007), and that is

a heavy burden she cannot satisfy. Courts may only invalidate arbitration agreements based

upon generally applicable contract defenses. 9 U.S.C. § 2; Doctor’s Assocs. v. Casarotto, 517


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U.S. 681, 687 (1996). However, such challenges must be directed specifically and solely to the

arbitration agreement and may not be advanced in such a manner that would subject arbitration

agreements to special scrutiny. See, e.g., Perry v. Thomas, 482 U.S. 483, 493 n.9 (1987);

Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440 (2006); Prima Paint Corp. v. Flood &

Conklin Mfg. Co., 388 U.S. 395, 403-04 (1967). Thus, an arbitration agreement must be upheld

and enforced by the courts even though the rest of the contract may later be held invalid by the

arbitrator. Prima Paint, 388 U.S. at 404; Harris v. Green Tree Fin. Corp., 183 F.3d 173, 179 (3d

Cir. 1999). Plaintiff simply cannot meet this heightened standard.

                2.      Plaintiff’s Claims Fall Squarely Within The Scope Of the Arbitration
                        Agreement.

                The FAA mandates that “any doubts concerning the scope of arbitrable issues

should be resolved in favor of arbitration, whether the problem at hand is the construction of the

contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.”

Moses H. Cone Memorial Hosp., 460 U.S. at 24-25 (citations omitted).                  Accordingly, the

Supreme Court dictates that a presumption of arbitrability exists where a contract contains an

arbitration clause, and that an order to arbitrate should not be denied “unless it may be said with

positive assurance that the arbitration clause is not susceptible to an interpretation that covers the

asserted dispute.” AT&T Technologies, Inc., 475 U.S. at 650. The presumption in favor of

arbitrability “is particularly strong when the arbitration clause in question is broad,” id., as it is in

this case. Indeed, the Supreme Court in Randolph has made clear that “the party resisting

arbitration bears the burden of proving that the claims at issue are unsuitable for arbitration.” 531

U.S. at 91.

                As one federal court explained in examining a similarly broad arbitration

agreement:



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               [w]hen faced with a broad arbitration clause, such as one covering
               any dispute arising out of an agreement, a court should follow the
               presumption of arbitration and resolve doubts in favor of
               arbitration.... Indeed, in such a case, only an express provision
               excluding a specific dispute, or the most forceful evidence of a
               purpose to exclude the claim from arbitration, will remove the
               dispute from consideration by the arbitrators.

Davisson, 644 F. Supp. 2d at 959 (quoting Solvay Pharms. v. Duramed Pharms., Inc., 442 F.3d

471, 482 n.10 (6th Cir. 2006) (emphasis in original)). The Davisson court noted that because the

arbitration agreement “provides for arbitration of any dispute, it is broad in scope.” 644 F. Supp.

2d at 959 (emphasis in original). The court went on to find the opposing party’s claims pursuant

to three different state consumer protection statutes and for conversion and trespass to chattel

“clearly fall within the Contract’s definition of ‘Dispute’” and thus “all of the parties’ claims are

arbitrable.” Id. at 960.

               Similarly, Plaintiff’s claims are clearly covered under the broad language of the

Arbitration Agreement. The Arbitration Agreement broadly provides for the arbitration of:

               any claim, dispute or controversy between you and us arising from
               or related to one or more of the following:

               (a) The Contract.
               (b) The vehicle or the sale of the vehicle.
               (c) The provision or sale of any goods and services like warranties,
               insurance and extended service contracts covered by the Contract
               or related to the vehicle.
               (d) The relationships resulting from the Contract.
               (e) Advertisements, promotions or oral or written statements
               related to the Contract.
               (f) The financing terms.
               (g) Your credit application.
               (h) The origination and servicing of the Contract.
               (i) The collection of amounts you owe us.
               (j) Any repossession, or replevin, of the vehicle.
               (k) Your personal information.
               (l) The rescission or termination of the Contract.




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See Ex. 2, Arbitration Agreement at p. 2. Plaintiff’s claims all arise out of purported conduct

which occurred in relation to the sale of the Vehicle and the execution of the Contract. Thus,

such claims clearly arise from and relate to the Contract, the sale of the Vehicle, and the Vehicle

itself and therefore they squarely fall within the scope of the Arbitration Agreement. See, e.g.,

Berkery v. Cross Country Bank, 256 F. Supp.2d 359, 367 (E.D. Pa. 2003).

        Further, pursuant to the Arbitration Agreement, the term “claim” has the “broadest

reasonable meaning,” and it “includes claims of every kind and nature.” See Ex. 2, Arbitration

Agreement at p. 2. The Arbitration Agreement specifically defines “Claim” to include “statutory

claims”, “contract claims”, “negligence and tort claims (including claims of fraud and other

intentional torts).” Id. Therefore, Plaintiff’s claims for fraud, breach of contract; negligence;

negligent misrepresentation; and breach of fiduciary duty and covenants of good faith and fair

dealing, are clearly arbitrable.

        Plaintiff’s statutory claims for alleged violations of the UTPCPL and “Professions and

Occupations Act Board of Vehicles Act” are also subject to arbitration.5 See, e.g., Bill Gray

Nissan, Inc. v. Am. Suzuki Motor Corp., No. XX-XXXXXXX, U.S. Dist. LEXIS 17297, at *7 (W.D.

Pa. July 26, 2002) (compelling arbitration of Pennsylvania Board of Vehicles Act (“BVA”)

claim and concluding that to the extent the BVA could be read to prohibit arbitration agreements,

the BVA is preempted by the FAA); Elinch v. Discover Bank, No. 12-1227, 2013 U.S. Dist.

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        Plaintiff’s claims for alleged violations of the UTPCPL and “Professions and
        Occupations Act Board of Vehicles Act” both arise from or relate to the sale and
        financing of the Vehicle, and/or the Vehicle itself. Plaintiff’s UTPCPL claim is based on
        her allegation that Defendants “misrepresent[ed] the vehicle’s history, condition and
        value, misrepresent[ed] the seller and the terms and conditions of the sale and financing .
        . . and violated [certain] provisions of the Pennsylvania Automotive Industry Trade
        Practices.” See Compl. at ¶ 126. Likewise, Plaintiff’s claim for alleged violation of the
        Professions and Occupations Act Board of Vehicles Act” is based on her allegation that
        Defendants made material misrepresentations in connection with the sale and financing
        of the Vehicle. See Compl. at ¶ 117.



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LEXIS 12659, at *7 (E.D. Pa. Jan. 29, 2013) (compelling arbitration of UTPCPL claim where

the broad arbitration provision applied to any dispute between the parties arising from or relating

to the account).

       C.      Bridgecrest and Ehlinger Are Entitled to Enforce The Arbitration
               Agreement.

       The plain language of the Arbitration Agreement mandates arbitration of Plaintiff’s

claims against Bridgecrest and Ehlinger because it defines Us/We/Our” as “DriveTime, any

purchaser, assignee or servicer of the contract, all of their parent companies, and all subsidiaries,

affiliates, predecessors and successors, and all officers, directors and employees of any of the

foregoing.” See Ex. 2, Arbitration Agreement at p. 1. Bridgecrest is the assignee of the Contract

and affiliate of DriveTime. Ex. A., Pierce Decl. at ¶ 9. Ehlinger is the former general counsel of

DriveTime and, thus, an officer of company. Id. at ¶ 10. Accordingly, under the plain language

of the Arbitration Agreement, Bridgecrest and Ehlinger are entitled to enforce the Arbitration

Agreement.

       D.      The Action Must Be Stayed Pending Arbitration.

       Section 3 of the FAA provides that where a valid arbitration agreement requires a dispute

to be submitted to binding arbitration, the district court shall stay the action “until such

arbitration has been had in accordance with the terms of the agreement.” 9 U.S.C. § 3; see

Collins v. Burlington N. R. Co., 867 F.2d 542, 545 (9th Cir. 1989) (remanding case where district

court failed to consider whether a stay was appropriate as a result of binding arbitration

agreement); see also Cendant Corp. v. Forbes, 72 F. Supp. 2d 341, 342 (S.D.N.Y. 1999)

(granting a stay under Section 3 of the FAA is “mandatory if an issue in the case is referable to

arbitration.”). Accordingly, Defendants respectfully request that this Court stay this action

pending completion of arbitration pursuant to the express terms of the Arbitration Agreement.



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IV.    CONCLUSION

       By executing the Arbitration Agreement, Plaintiff agreed to arbitrate any claims she may

have arising from or relating to the Contract, the sale of the Vehicle, and the Vehicle itself. All

of Plaintiff’s claims are premised on Plaintiff’s contention that Defendants concealed certain

facts about the Vehicle prior to her purchase of same. The Arbitration Agreement expressly

provides for arbitration of claims against DriveTime, Bridgecrest (the assignee of the Contract,

and Ehlinger (the former general counsel of DriveTime). Accordingly, Plaintiff’s claims against

Defendants fall within the broad scope of the Arbitration Agreement, and as such, Plaintiff is

required to submit her claims to arbitration.


                                           Respectfully submitted,


Dated: August 31, 2018                     /s/ Martin C. Bryce, Jr.
                                           Martin C. Bryce, Jr., Esquire
                                           Jenny N. Perkins, Esquire
                                           BALLARD SPAHR LLP
                                           1735 Market Street, 51st Floor
                                           Philadelphia, PA 19103
                                           T: 215.665.8500
                                           F: 215.864.8999
                                           bryce@ballardspahr.com
                                           perkinsj@ballardspahr.com

                                           Attorneys for Defendants




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